                   Case 3:18-mj-04513-LHG                                Document 7                    Filed 06/18/18                     Page 1 of 1 PageID: 11

                                                                                                                                   VOUCHER NUMBER

                                                                                                      5. APPEALS DKT./DEF. NUMBER                         6. OTHER DKT. NUMBER

      IN CA_SF/MAJ ·1t._K vr ! <..,US.e Nar1J.e)      8.. PA\'¥ENTCATEGORY                           _9.JYPE PERSON REPRESENTED                           10. REPRESENTATION TYPE
                                                      ~elony            D Peity Offense              ~Adult Defendant      D Appellant                         (See Instructions)
                                                      D Misdemeanor     D Other                      D Juvenile Defendant  D Appeltee                               cc
                                                          A ea!                                         Other




12: ATTOR.NEY'·S-NAMlr(First Name; MI., Last flame, including any suffix),                            I     COURT OR.DER
    AND MAIL':NG ADDRESS                                                                                  NO Appointing Counsel                           DC Co-Counsel
              {l      h.n A- Uti /VI ,J C' - C\                                                           []F' Subs For Federal Defender                  D R Subs For Retained Attorney
              r\~r{y.\ it_},~'""\ jL) \                                                                   OP SubsForPanelAttomey                          D Y Standby Counsel

             \'f).(\"'r\C~Jtl        ~ ,¥0'1
                    l\os ?ti' {kAc,ig-~                                                               Prior Attorney's
                                                                                                         Appointment Dates: - - - - - - - - - - - - - - - -
                                   r a             u 1. -.i.,.."'J.i\                                     D Because the above-named person represented'lias testified under oath or has otherwise
       Telephone Number :          b0J ' ~J J - J(}JV                                                 satisfied this Court that he or she (I) is fuianciaily ilnab.le to employ counsel and (2) d.oes not
...,,,;.a,..,a..,,,;.,...,"="------,;.----'-....;....;'---'-----------------1                         wish to waive counsel. an       cause the interests of justice s     quire, the attorney whose
f4: -NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instn,ctions)                             name appears in lte                · d to re res t ·· e             m this case, OR
                                                                                                        D Other (See .l




                                                                                                                                                                        Jilunc Pro Tune Date




is.




                                                                 TOTALS:
16.      a. Interviews and Conferences
  ~      b. Obtainin and reviewin records
         c. Le I research and brief writin




                                       v, · · · ~B1Di&BD~1
19. CERTIFI=C:.:A:::T::.10:..N=o=F=A=TTO=RNEY/PAYEE FOR THE PERIOD OF SERVICE                                                                                        ·21. CASE DISPOSITION

                                                           TO:
22. CLAIM STATUS                        OFinal Payment ·           D intenn:, Payment Number                                            D Supplemental Payment

       Have you previously applied to the court for compensation and/or reimbursement for this         DYES        D NO           If yes, were you paid?     O YES        ONO
       Other than from the Court. have y<iil, or to y<iilr knowledge has anyone else, received payment (compensation or anything ofvaliie) fr<im any other source in connection with this
       representation?     t:J
                            YES      [j NO               If yes, give details on additional sheets.
        I swear or afftrm the truth or correctness of the above statements.




28. SIGNATURE OF THE PRESIDING JUDICIAL OFFICER                                                                 DATE                                      28a. JUDGF/MAG. JUDGE CODE


29. IN COURT COMP.                         30. OUT OF COURT COMP.          31. TRAVEL EXPENSES                  32. OTHER EXPENSES                        33. TOTAL AMT. APPROVED


34. SIGNATURE OF CHIEF JUDGE, COURT OF A_PPEALS (OR DELEGATE) Payment approved                                  DATE                                      34a. JUDGE CODE
    in excess ofthe statutory tlireshold amount.
